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                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF RHODE ISLAND

                                        )
 STATE OF NEW YORK; STATE OF            )
 WASHINGTON; STATE OF RHODE             )
 ISLAND; STATE OF ARIZONA;              )
 STATE OF CALIFORNIA; STATE OF          )
 COLORADO; STATE OF                     )
 CONNECTICUT; STATE OF                  )
 DELAWARE; THE DISTRICT OF              )
 COLUMBIA; STATE OF HAWAI’I;            )
 STATE OF ILLINOIS; STATE OF            )
 MAINE; STATE OF MARYLAND;              )
 THE PEOPLE OF THE STATE OF             )
 MICHIGAN; STATE OF                     )
 MINNESOTA; STATE OF NEW                )
 JERSEY; STATE OF NEW MEXICO;           )
 STATE OF OREGON; STATE OF              )
 VERMONT; STATE OF WISCONSIN,           )
                                        )
      Plaintiffs,                       )
                                        )
      v.                                )
                                             C.A. No. 25-cv-196-MRD-PAS
                                        )
 ROBERT F. KENNEDY, JR., in his         )
 official capacity as SECRETARY OF      )
 THE U.S. DEPARTMENT OF                 )
 HEALTH AND HUMAN SERVICES;             )
 U.S. DEPARTMENT OF HEALTH              )
 AND HUMAN SERVICES; SUSAN              )
 MONAREZ, in her official capacity as   )
 ACTING DIRECTOR, FIRST                 )
 ASSISTANT TO THE DIRECTOR,             )
 PRINCIPAL DEPUTY DIRECTOR OF           )
 THE CENTERS FOR DISEASE                )
 CONTROL AND PREVENTION;                )
 CENTERS FOR DISEASE CONTROL            )
 AND PREVENTION; MARTIN A.              )
 MAKARY in his official capacity as     )
 COMMISSIONER OF THE U.S.               )
 FOOD AND DRUG                          )
 ADMINISTRATION; U.S. FOOD AND          )
 DRUG ADMINISTRATION; ANDREW            )
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 GRADISON, in his official capacity as     )
 ACTING ASSISTANT SECRETARY                )
 OF THE ADMINISTRATION FOR                 )
 CHILDREN AND FAMILIES;                    )
 ADMINISTRATION FOR CHILDREN               )
 AND FAMILIES; MARY LAZARE in              )
 her official capacity as PRINCIPAL        )
 DEPUTY ADMINISTRATOR OF THE               )
 ADMINISTRATION FOR                        )
 COMMUNITY LIVING; ARTHUR                  )
 KLEINSCHMIDT, in his official             )
 capacity as PRINCIPAL DEPUTY              )
 ASSISTANT SECRETARY OF THE                )
 SUBSTANCE ABUSE AND MENTAL                )
 HEALTH SERVICES                           )
 ADMINISTRATION; SUBSTANCE                 )
 ABUSE AND MENTAL HEALTH                   )
 SERVICES ADMINISTRATION,                  )
                                           )
      Defendants.                          )
                                           )


                           MEMORANDUM AND ORDER

 Melissa R. DuBose, United States District Judge.

       Yet another group of plaintiffs seek relief from a federal court to halt sweeping

 changes to a federal agency’s operations which they claim disregard congressionally

 mandated programs to the detriment and peril of all who live in the United States.

 The subject at the heart of this controversy is the March 27, 2025 announcement from

 the Department of Health and Human Services (“HHS” or “the Agency”) that HHS

 would: substantially cut the number of employees who work for its various sub-




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 agencies, 1 reorganize its sub-agencies by closing some and consolidating others,

 reduce the number of regional offices around the country by half, and create a new

 division called the Administration for a Healthy America. The stated end goal is to

 Make America Healthy Again.        Nineteen states and the District of Columbia

 challenge HHS’s implementation of its plans as a violation of the Administrative

 Procedure Act and the U.S. Constitution and asks this Court for a preliminary

 injunction to halt the implementation of these changes. Before reaching the requisite

 preliminary injunction factors, the Court must resolve the threshold jurisdictional

 challenges that the Agency raised in response to the plaintiffs’ motion.         This

 hodgepodge of challenges will be familiar to those who are tracking the dozens of

 cases around the country similarly challenging the Trump administration’s efforts to

 reduce and reorganize the federal government.

       For the reasons stated below, this Court will grant the relief the States have

 requested. To briefly summarize, the Court concludes that the States have standing

 to bring these causes of action, see infra Part III(A), the claims were not subject to

 channeling pursuant to the Civil Service Reform Act (“CSRA”), see infra Part III(B),

 the States were not required pursuant to the Tucker Act to bring their claims in the

 Court of Federal Claims, see infra Part III(C), and HHS’s announcement on March

 27 represented final agency action such that the Court can review the alleged




       1 The Court uses “sub-agency” and “sub-agencies” to refer to all the entities

 that fall within HHS’s organizational structure, including but not limited to
 departments, offices, divisions, programs, etc.



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     violations of the Administrative Procedure Act, see infra Part III(D)(1)(a)(i). With

     respect to the merits, the Court concludes the States have shown a likelihood of

     success on their claims that the HHS’s action was both arbitrary and capricious as

     well as contrary to law. See infra Part III(D)(1)(b)(ii)-(iii). The Court declines to

     address the constitutional claims at this point. The Court also concludes that the

     States have sufficiently shown irreparable harm, see infra Part III(D)(2), and that

     the balance of the equities and the public interest weigh in their favor, see infra Part

     III(D)(3).

I.          BACKGROUND

            A. Separation of Powers

            To properly set the scene for this case, the Court begins with a brief reminder

     about the bedrock doctrine of separation of powers that governs the relationship

     between the Unites States’ three co-equal branches of government. This nation’s

     enduring founding document, the Constitution, categorically establishes the basic

     structure of government, the scope and purview of each of the three co-equal

     branches, and manifests a system in which each branch may serve as a check on and

     balance to the other two branches. This deliberate separation of powers is “evident

     from the Constitution’s vesting of certain powers in certain bodies.” Seila Law LLC

     v. Consumer Fin. Prot. Bureau, 591 U.S. 197, 227 (2020). As relevant here, the

     Constitution bestowed on Congress the power to create laws, U.S. Const. art. I, § 1,

     on the President the duty to “take [c]are that the [l]aws be faithfully executed,” U.S.

     Const. art. II, § 3, and on the judiciary the responsibility for interpreting the laws




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 when a dispute over the meaning and application is properly brought to its bench, see

 U.S. Const. art. III, § 2; Massachusetts v. Mellon, 262 U.S. 447, 488 (1923). The

 founders carefully constructed this democratic system to prevent the concentration

 of power in one part of the government. See New York v. Trump, 769 F. Supp. 3d

 119, 128 (D.R.I. 2025) (citing Marbury v. Madison, 5 U.S. 137, 177-78 (1803); Mellon,

 262 U.S. at 488; Clinton v. City of New York, 524 U.S. 417, 450 (1998) (Kennedy, J.,

 concurring)). With these basic constitutional and jurisprudential nuts and bolts in

 place, the Court moves on to the matter at hand.

       B. Executive Action

       The current head of the executive branch has articulated several priorities as

 part of his policy objectives; one being shrinking the size of many executive agencies.

 See “Commencing the Reduction of the Federal Bureaucracy,” The White House, Feb.

 19, 2025, https://perma.cc/UME8-5A9K. Federal courts around the country have

 been asked via motions for injunctive relief to make constitutional gut checks of the

 Trump administration’s actions in furtherance of this objective. Throughout this

 bevy of litigation, the division of power between the executive branch and legislative

 branch with respect to the structure and function of executive agencies has been

 much discussed. As one district court currently adjudicating a challenge to the

 reductions-in-force (“RIF(s)”) and planned reorganizations in several federal agencies

 summarized, part of Congress’ legislative power is to establish offices and determine

 each office’s function and jurisdiction. See Am. Fed’n of Gov’t Emps., AFL-CIO v.

 Trump, No. 25-cv-3698-SI, 2025 WL 1482511, at *16 (N.D. Ca. May 22, 2025) (citing




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 Myers v. United States, 272 U.S. 52, 129 (1926); Free Enter. Fund v. Public Co.

 Accounting Oversight Bd., 561 U.S. 477, 500 (2010)). “Administrative agencies are

 creatures of statute. They accordingly possess only the authority that Congress has

 provided.” Nat’l Fed’n of Indep. Bus. v. Dep’t of Lab., Occupational Safety & Health

 Admin., 595 U.S. 109, 117 (2022). “While ‘the President may create, reorganize, or

 abolish an office that he established,’ the Constitution does not authorize him ‘to

 enact, to amend, or to repeal statutes.’” Am. Fed’n of Gov’t Emps., 2025 WL 1482511,

 at *16 (quoting Clinton, 524 U.S. at 438).     Indeed, “the President may broadly

 restructure federal agencies only when authorized by Congress.” Id. at *17; see also

 id. at *18 (“The simple proposition that the President may not, without Congress,

 fundamentally reorganize the federal agencies is not controversial: constitutional

 commentators and politicians across party lines agree.” (citation omitted)).

       C. HHS

       The structure and purview of the agency we know as HHS has evolved since

 its initial inception. As summarized by the plaintiffs, in 1939, Congress promulgated

 legislation which redistributed the functions of existing agencies and newly created

 agencies so that health, education, and social insurance would be governed by a newly

 titled “Federal Security Agency.” Compl. ¶ 44 (ECF No. 1). In 1953, Congress created

 a cabinet-level Department of Health, Education, and Welfare. Id. ¶ 45. Later,

 Congress removed education from this department and, in 1979, created a standalone

 Department of Education. The remaining agency was renamed the Department of

 Health and Human Services.        Id. ¶ 46.   At the end of 2024, HHS employed




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 approximately 82,000 people and was responsible for twenty-six percent of all federal

 spending. Id. ¶¶ 48-49.

       On March 27, 2025, HHS published a communication titled “HHS Announces

 Transformation to Make America Healthy Again” (the “March 27 Communiqué”). Id.

 ¶ 67, Ex. 1. According to this document, and in lockstep with President Trump’s

 Executive Order 14210 (“Implementing the President’s ‘Department of Government

 Efficiency’ Workforce Optimization Initiative”), HHS planned to implement a RIF of

 10,000 full-time employees, “streamline the functions” of HHS by consolidating 28

 divisions down to 15 divisions, collapsing 10 regional offices into 5 regional offices,

 and creating a new division called Administration for a Healthy America (“AHA”).

 Id. ¶ 67, Ex. 1. On April 1, HHS sent notices to 10,000 employees, informing them

 that HHS had placed them on administrative leave and that their terminations would

 become final on June 2, 2025. Id. ¶¶ 85-86. These employees were immediately

 locked out of their email accounts and no longer had access to HHS-issued laptops,

 offices, and buildings. Id. ¶ 88.

       HHS Secretary Robert F. Kennedy, Jr. initially declined an invitation to

 appear before the U.S. Senate Committee on Health, Education, Labor, and Pensions

 (“HELP Committee”) to discuss the HHS reorganization, but opted instead to speak

 to the media. Id. ¶¶ 89-91. Secretary Kennedy told reporters that he and other

 administration officials knowingly took an approach to the HHS restructuring that

 would generate mistakes. Id. ¶ 90. From the outset, Kennedy expected 20% of the

 cut employees would need to be reinstated, with the Centers for Disease Control and




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 Prevention (“CDC”)’s Lead Poisoning Prevention and Surveillance Branch being an

 example of the foreseeable mistakes known within a couple of days of the March 27

 Communiqué. Id. In an interview with CBS News on April 9, 2025, Secretary

 Kennedy explained that undertaking a close examination of employees’ job

 responsibilities before issuing the termination notices “takes too long” and would

 result in the loss of the opportunity to capitalize on “political momentum.” Id. ¶ 91.

 On May 14, Senator Kennedy made his first appearance before the Senate’s HELP

 Committee and testified that he and his colleagues “had to act quickly so that we

 could do something for the American people that is lasting.” Brachfeld Decl. ¶ 5 (ECF

 No. 55). “[I]t was more important to do decisive action quickly.” Id. Even though he

 and his colleagues “understood that there would be some mistakes made,” they

 “would go back and reverse them when they were made.” Id. For example, HHS

 revoked 300 RIF notices sent to employees of one sub-agency, the National Institute

 for Occupational Safety and Health (“NIOSH”). Howard Decl. ¶ 3 (ECF No. 53). More

 recently, HHS rescinded RIF notices for 467 employees across the CDC’s Office of the

 Director, National Center for Environmental Health, National Center for HIV, Viral

 Hepatitis, STD, and TB Prevention, and Global Health Center. Patterson Decl. ¶ 4

 (ECF No. 70-1).

       D. Pending Federal Cases in Other Jurisdictions

       Relatedly, federal district courts have partially adjudicated at least two cases

 arising from HHS’s reorganization actions. In the Southern District of West Virginia,

 a coal mine electrician with decades of experience in the coal mines and a recent




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 diagnosis of the dreaded black lung sued Secretary Kennedy and HHS on behalf of

 himself and others similarly situated to challenge the shuttering of NIOSH’s Coal

 Workers Health Surveillance Program through the RIF announced on March 27 and

 implemented on April 1. Wiley v. Kennedy, C.A. 2:25-cv-227, 2025 WL 1384768, at

 *1-2 (S.D.W.V. May 13, 2025). On Tuesday, May 13, that court granted a preliminary

 injunction ordering that “the RIFs in the NIOSH Respiratory Health Division be

 enjoined and, therefore, rescinded to facilitate the full restoration of the NIOSH

 Respiratory Health Division” and that further efforts to reorganize may not include

 any “pause, stoppage or gap in the protections and services mandated by Congress in

 the [Federal Mine Safety and Health Act of 1977] and the attendant regulations for

 the health and safety of miners.” Id. at *13.

       Approximately 2,500 miles west of West Virginia, a group of unions, nonprofits,

 and a local government sought relief in the Northern District of California from

 twenty-two agencies (including HHS). Am. Fed’n of Gov’t Emps., 2025 WL 1482511,

 at *3. These plaintiffs challenged the Agency RIF and Reorganization Plans

 (“ARRPs”) submitted to the Office of Management and Budget and the Office of

 Personnel Management pursuant to Executive Order 14210 and a related memo,

 which had been partially implemented in those agencies. Id. On Thursday, May 22,

 that court preliminarily enjoined the agency defendants in that case (including, as

 directly relevant to this case, HHS) from, among other things, “execut[ing] any

 existing RIF notices (including final separation of employees)” or “implement[ing]”

 any ARRPs. Id. at *27. The order also commanded the agency defendants to “rescind




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  any RIFs issued pursuant to Executive Order 14210 and . . . transfer any federal

  employees who were moved into administrative leave status to effectuate Executive

  Order 14210 back to the status they held prior to being placed on such leave” but

  stayed this part of the injunction order “for the duration of any appeal of th[e]

  injunctive order.” Id. at *28. The agency defendants have indeed filed an appeal with

  the Ninth Circuit Court of Appeals, which recently denied defendants motion to stay

  the injunction pending appeal. See Am. Fed’n of Gov’t Emps. v. Trump, No. 25-3293,

  --- F. Supp. 3d ---, 2025 WL 1541714, at *2 (9th Cir. May 30, 2025). The federal

  agencies have sought the same emergency relief at the U.S. Supreme Court, which is

  currently pending. See S. Ct. Dkt. 24A1174.

         E. This Case

         Shifting focus to the immediate cause of action in this Court, the States filed

  this case on May 5, 2025 against HHS, its Director, and several principal

  administrators of various HHS sub-agencies. The States allege that HHS’s mass

  terminations and agency reorganization are unlawful in five ways: (1) a Violation of

  the Separation of Powers Doctrine because these actions usurp legislative authority,

  U.S. Const. art. I, § 1, art. II, § 3; (2) a Violation of the Appropriations clause, U.S.

  Const. art. I, § 9, cl. 7; (3) the Defendants’ conduct is ultra vires because it is “outside

  the scope of statutory authority conferred on the Executive” (title caps omitted); (4) a

  Violation of the Administrative Procedures Act as contrary to law, 5 U.S.C.

  § 706(2)(B)-(C); and (5) a Violation of the Administrative Procedure Act as arbitrary

  and capricious, 5 U.S.C. § 706(2)(A). Compl. at 87-96.




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            The States filed a Motion for Preliminary Injunction on May 9, asking this

      Court to enjoin the terminations and agency restructuring as announced in the March

      27 Communiqué at, specifically, the CDC, the FDA’s Center for Tobacco Products

      (“CTP”), the Office of Head Start and Head Start employees in Regional Offices, and

      the Office of the Assistant Secretary for Planning and Evaluation (“ASPE”). Pl.’s Mot.

      For Prelim. Inj. (ECF No. 43 at 2, 6-21).         HHS, in opposition, raises several

      jurisdictional issues, Mem. in Opp’n (ECF No. 52), to which the States replied, Reply

      Br. (ECF No. 54). The Court held a hearing on May 20 and took the motion under

      advisement.

II.         STANDARD

            “A request for a preliminary injunction . . . may be granted only if ‘the district

      court finds that . . . four . . . factors . . . weigh in favor of granting the request.’”

      Cushing v. Packard, 30 F.4th 27, 35 (1st Cir. 2022) (quoting Comcast of Me./N.H.,

      Inc. v. Mills, 988 F.3d 607, 611 (1st Cir. 2021)). The factors are: “(1) the movant’s

      likelihood of success on the merits; (2) the likelihood of the movant suffering

      irreparable harm; (3) the balance of equities; and (4) whether granting the injunction

      is in the public interest.” Id. (quoting Comcast of Me./N.H., Inc., 988 F.3d at 611).

      “[T]hese four elements are not of equal prominence in the preliminary injunction

      calculus. The most important is whether the movant has demonstrated a likelihood

      of success on the merits,” a factor that the Circuit makes clear is indispensable to “the

      preliminary injunction inquiry.” Akebia Therapeutics, Inc. v. Azar, 976 F.3d 86, 92

      (1st Cir. 2020) (citing Ryan v. ICE, 974 F.3d 9, 18-19 (1st Cir. 2020)). To meet this




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   factor, “plaintiffs must show ‘more than mere possibility’ of success—rather, they

   must establish a ‘strong likelihood’ that they will ultimately prevail.” Sindicato

   Puertorriqueno de Trabajadores v. Fortuño, 699 F.3d 1, 10 (1st Cir. 2012) (per curiam)

   (quoting Respect Maine PAC v. McKee, 622 F.3d 13, 15 (1st Cir. 2010)). That said,

   the court “need not conclusively determine the merits of the underlying claims.”

   Akebia Therapeutics, 976 F.3d at 93 (quoting Ross-Simons of Warwick, Inc. v.

   Baccarat, Inc., 102 F.3d 12, 16 (1st Cir. 1996)). The court’s “decisions ‘are to be

   understood as statements of probable outcomes’ only.” Id. (quoting Narragansett

   Indian Tribe v. Guilbert, 934 F.2d 4, 6 (1st Cir. 1991)). In addition, when the

   government is the opposing party, the third and fourth factors merge and are

   considered together. Does 1-6 v. Mills, 16 F.4th 20, 37 (1st Cir. 2021) (citing Nken v.

   Holder, 556 U.S. 418, 435 (2009)).

III.     DISCUSSION

         Before the Court dives into the States’ likelihood of success on the merits, it

   must address the three jurisdictional arguments HHS raises. HHS argues that the

   States lack Article III standing (ECF No. 52 at 12-22), that the Civil Service Reform

   Act (“CSRA”) and the Federal Service Labor-Management Relations Statute (“FSL-

   MRS”) require the States to channel their claims to the Merit Systems Protection

   Board (“MSPB”) and/or the Federal Labor Relations Authority (“FLRA”) (ECF No. 52

   at 22-26), and that the Tucker Act requires the case to be filed in the Court of Federal

   Claims (ECF No. 52 at 20-21). The Court addresses each argument in turn.




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        A.     Standing

        HHS argues that the States lack standing to bring this suit because they lack

  cognizable injuries related to their alleged informational and tangible service

  injuries. ECF No. 52 at 13-20. They also argue that there is a redressability problem

  with respect to the harms related to grants or delays in funding for state programs.

  Id. at 14, 20-22. For the reasons described below, the Court rejects HHS’s arguments

  and concludes that the States have established Article III standing.

        Preliminarily, it is important to note that the Court need not examine standing

  for each State since they are collectively seeking the same injunctive relief. See Carey

  v. Population Srvs., Intern., 431 U.S. 678, 682 (1977) (finding that one plaintiff “ha[d]

  the requisite standing and therefore hav[ing] no occasion to decide the standing of

  the other [plaintiffs].”); Project B.A.S.I.C. v. O’Rourke, 907 F.2d 1242, 1244 (1st Cir.

  1990) (finding that one plaintiff had standing so the court did “not consider whether

  [other plaintiffs] ha[d] standing as well.”); Am. Fed. of Gov’t Emps. v. Trump, No. 25-

  cv-3698, 2025 WL 1358477, at *7 (N.D. Cal. May 9, 2025) (“AFGE”) (stating that “[a]s

  a general rule, in an injunctive case this court need not address standing of each

  plaintiff if it concludes that one plaintiff has standing”)

        To establish standing to sue, the States must show an injury that is traceable

  to HHS’s conduct and prove that the injury is redressable by this Court. Lujan v.

  Defs. of Wildlife, 504 U.S. 555, 560-61 (1992). The injury suffered must be “concrete

  and particularized,” and “actual or imminent,” not “conjectural or hypothetical.” Id.

  (internal citations omitted).    “At the preliminary injunction stage … [the States]




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  must make a ‘clear showing’ that [they are] ‘likely’ to establish each element of

  standing.” Murthy v. Missouri, 603 U.S. 43, 58 (2024) (quoting Winter v. Natural

  Resources Defense Council, Inc., 555 U.S. 7, 22 (2008)). When “risk of future harm”

  is asserted, as it is here, the harm “must be sufficiently imminent and substantial.”

  Nat’l Ass’n of Gov’t Emps., Inc. v. Yellen, 120 F.4th 904, 910 (1st Cir. 2024) (quoting

  Roe v. Healey, 78 F.4th 11, 20 (1st Cir. 2023)). “This standard is satisfied if the

  threatened injury is certainly impending, or there is a substantial risk that harm will

  occur.” Id. (internal quotations and citation omitted).

        When the question requires the Court to decide “whether an action taken by

  one of the other two branches of Federal Government was unconstitutional” then the

  standing inquiry is “especially rigorous.” Clapper v. Amnesty Intern. USA, 568 U.S.

  398, 408 (2013) (quoting Raines v. Byrd, 521 U.S. 811, 819-20 (1997)). That is

  certainly the case here.

        The States assert myriad injuries that they claim are either already occurring

  or present a risk of future harm based on the RIFs that were scheduled to take effect

  on June 2, 2025. (ECF No. 43 at 14-29; ECF No. 54 at 13-14). Before analyzing

  whether the asserted harms are concrete and particularized, actual and imminent,

  and sufficiently imminent and substantial, the Court finds it worthwhile to layout

  examples of the States’ uncontroverted injuries as to each agency/program for which

  injunctive relief is sought.




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                           Centers for Disease Control (“CDC”)

        The States describe a symbiotic relationship between themselves and the CDC.

  They rely on the CDC’s infectious disease laboratories for “an array of services,

  including: (1) diagnostic testing for rare and complex diseases, (2) susceptibility to an

  antibacterial resistance testing for infectious diseases, (3) developing new diagnostic

  tools for [sexually transmitted infections] to address rising cases of reportable STIs .

  . . , (6) on-the-ground support for outbreak response . . . ,” and surveillance, training,

  and coordinated national guidance on a number of important public health issues.

  ECF Nos. 43 at 14-15; 44-20 at ¶¶ 13-20; 44-21 at ¶¶ 11, 22; 44-22 at ¶ 7; 44-23 at ¶¶

  9-11; 44-24 at ¶ 11; 44-25 at ¶¶ 13, 15. Since the March 27 Communiqué, these

  “public health services, including CDC laboratories and other resources” have been

  discontinued, imperiling the health and safety of state residents. ECF No. 54 at 13.

  The States “have tried to close the gaps created by the shuttered laboratories,” but

  “some gaps cannot be filled.” ECF No. 43 at 16.

        The March 27 Communiqué also affected the Division of Reproductive Health

  (“DRH”) which operates within the CDC. One program that was severely impacted

  by the Communiqué is the Pregnancy Risk Monitoring System (“PRAMS”) which saw

  its fifteen-person team put on administrative leave. Id. at 17. PRAMS, as part of a

  larger effort towards “Safe Motherhood,” 2 “is a joint surveillance project that collects



        2 The Safe Motherhood program is governed by 42 U.S.C. § 247b-12(a)(1),
  which provides “[th]e purposes of this subsection are to establish or continue a
  Federal initiative to support State and tribal maternal mortality review committees,
  to improve data collection and reporting around maternal mortality, and to develop
  or support surveillance systems at the local, State, and national level to better


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  data nationwide on individuals’ experiences during pregnancy, delivery, and

  postpartum.” Id. at 18; ECF Nos. 44-25 at ¶ 9; 44-27 at ¶ 4. DRH collected survey

  data from PRAMS partners and CDC experts were responsible for maintaining,

  extracting, cleaning, and weighting the data submitted. ECF Nos. 43 at 18; 44-25 at

  ¶ 10; 44-27 at ¶ 5; 44-29 at ¶ 6; 44-50 at ¶ 5. The States rely on this data for “program

  planning, policy development, and overall decision-making regarding maternal and

  infant health.” ECF Nos. 43 at 18; 44-24 at ¶ 9. However, since the release of the

  March 27 Communiqué, “the PRAMS Integrated Data Collection System is now

  offline indefinitely and no new data is being collected.” ECF Nos. 43 at 19; 44-25 at

  ¶ 24; 44-26 at ¶ 18; 44-28 at ¶ 20.

        The CDC also houses the NIOSH, which was created “to address and prevent

  work-related injury and illness across all types of workplaces, including mines, fire

  departments, oil and gas wells, construction sites, small businesses, and hospitals.”

  See 29 U.S.C. § 651 et seq.; ECF Nos. 43 at 20; 44-47 at ¶ 4. It is worth noting the

  sole declaration HHS submitted in support of its opposition to the motion for

  preliminary injunction was from NIOSH’s director, “who oversee[s] all of NIOSH’s

  activities.” ECF No. 53 at ¶ 1. The States allege 90% of NIOSH’s employees “received

  either Notices of RIF or Notice of Intent to RIF,” including its director, the declarant

  Dr. John J. Howard. ECF Nos. 1 at ¶ 136; 43 at 21. Dr. Howard’s declaration states

  that more than three hundred RIF notices have been revoked, but that is still less



  understand the burden of maternal complications and mortality and to decrease the
  disparities among populations at risk of death and severe complications from
  pregnancy.”


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  than half of the “[a]pproximately 873 NIOSH employees…[who] received termination

  notices” which were slated to take effect on June 2, 2025 or July 2, 2025. ECF Nos.1

  at ¶ 136; 53 at ¶¶ 2-3. This large and quick reduction of staff, the States argue, will

  continue to exacerbate the issues and interruptions to NIOSH’s many programs. See

  ECF No. 43 at 22-25 (providing, as an example, “the Northwest Center for

  Occupational Health and Safety at the University of Washington” being told by a

  CDC grant specialist on May 2, 2025 that “at the present there is a pause on all

  NIOSH activities”).

                          Center for Tobacco Products (“CTP”)

        The States also describe injuries flowing from the March 27 Communiqué’s

  impact to CTP. This agency is statutorily obligated “to inform the public of any

  dangers to human health presented by cigarette smoking.”           15 U.S.C. § 1341.

  Specifically, the States allege that CTP stopped performing compliance checks to

  ensure tobacco products are not sold to minors, a function on which the States relied.

  ECF No. 43 at 25-26. The Director of the Michigan Department of Health and Human

  Services (“MDHHS”), for example, asserts that “[t]he functional elimination of these

  two subagencies will lessen MDHHS’s ability to protect its citizens, especially its

  youth, from the dangers of smoking and tobacco products.” ECF No. 44-59 at ¶¶ 1,

  48.




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                               Office of Head Start (“OHS”) 3

        The States also argue the March 27 Communiqué impacted OHS to the point

  that its grantees “were thrown into ‘chaos.’” ECF No. 43 at 27 (quoting ECF No. 44-

  39 ¶ 25). Services that the States once utilized, such as technical assistance, site

  visits, and grant oversight activities, have disappeared. ECF No. 44-38 at ¶ 29. The

  States argue that they faced delays in receiving notifications of funding, that OHS

  provided little to no information about regional realignments and have left critical

  questions unanswered.       ECF No. 43 at 27.    States were also not provided any

  advanced notice that the entire Division of State Systems, which state agencies and

  their child welfare systems rely on, would be subject to the RIF. Id.

        Office of the Assistant Secretary for Planning and Education (“ASPE”) 4

        Last, the States assert that the March 27 Communiqué has impacted ASPE

  which is charged with updating the federal poverty guidelines each year. Id. at 28.

  The ASPE webpage currently displays the message “[d]ue to current HHS

  restructuring, the information provided on aspe.hhs.gov is not being updated

  currently.” https://perma.cc/VZ6B-MFA3. The States further highlighted that the

  entire team responsible for updating the federal poverty guidelines was placed on




        3 42 U.S.C. § 9837.


        4 42 U.S.C. § 9902(2).




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  leave after RIF notices issued which could impact the guideline calculations moving

  forward. 5 ECF No. 43 at 27-28.

        With these examples of the States alleged injuries laid out, the Court will turn

  to the standing elements.

        HHS categorizes these harms, as well as those described in the other

  declarations submitted by the States, as informational injuries, tangible-service

  related injuries, and grant related injuries. ECF No. 52 at 13-14. The Court agrees

  that some of the injuries suffered by the States can be classified as informational

  injuries, which the Supreme Court has said can be concrete informational injury, so

  long as plaintiffs have a legal right to the information and can show “downstream

  consequences.”   TransUnion LLC v. Ramirez, 594 U.S. 413, 441-42 (2021).           In

  TransUnion, the Supreme Court declined to find standing based on plaintiff’s

  informational injuries – incorrect information on a credit report that was never sent

  out – because they failed to identify “downstream consequences from failing to receive

  the information.” Id. at 441. It reasoned that “[a]n asserted information injury that

  causes no adverse effects cannot satisfy Article III.” Id. at 442 (internal quotation

  omitted). Compare this with Fed. Election Comm’n v. Akins, where the Supreme

  Court found an informational injury sufficient to confer standing. 524 U.S. 11, 12

  (1998). There, a group of voters sued the Federal Election Commission (“FEC”) for



        5 Importantly, the Court notes that the 2025 federal poverty guidelines have

  been updated and are available on the ASPE webpage. https://perma.cc/J2FS-
  NMUE. HHS amplifies this point by arguing that the guidelines have been updated
  for 2025 and “updating the webpage is not required at any given time as long as the
  statute’s annual deadline [see 42 U.S.C. § 9902(2)] is met.” ECF No. 52 at 14-15.


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  not providing information they believed they were entitled to under a federal law. Id.

  at 24-25.

        Here, the States have identified statutes that require the Secretary of HHS

  and the HHS sub-agencies under his control to make information available to the

  public and to the States. This is similar to the situation in Akins where the Supreme

  Court found that a group had standing to sue the FEC based on a federal statute.

  See id. Take, for example, PRAMS data which the States say is “offline.” ECF No.

  54 at 13 n.7. PRAMS was “carried out through cooperative agreements between CDC

  and participating public and private health organizations, including state

  departments of health,” but the States claim that “no employees remain to maintain

  the system, analyze birth year 2024 data, or collect birth year 2025 data from the

  states.” ECF No. 43 at 18; ECF No. 54 at 13 n.7. The Defendants acknowledge that

  the required PRAMS information has been “delayed or not provided at this time,” but

  argue that this lapse does not amount to a “refusal to provide statutorily mandated

  [information].” ECF No. 52 at 15. The Court is not persuaded by this argument

  because not only is the data not being collected and analyzed, but the CDC has

  removed all historical data from 1988-2023, so it cannot currently be used by

  policymakers and researchers. ECF No. 55-4 at ¶ 17. This lack of information has

  clear “downstream consequences” for the States. TransUnion, 594 U.S. at 441-42.

  The Court concludes, therefore, that these informational injuries are concrete and

  particularized for purposes of Article III standing.




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        The Court is also persuaded that the States have alleged other concrete and

  particularized harm. These injuries are referred to by HHS as a “more tangible

  services-related theory” of injury. ECF No. 52 at 13. For example, the Director of

  Northwest Center for Occupational Health and Safety (“NWCOHS”) discusses how

  the CDC has been unable to process a no-cost grant extension for the organization

  and that his attempts to contact someone at the CDC led to a grant specialist

  informing NWCOHS that “at the present time there is a pause on all NIOSH

  activities.” ECF No. 44-31 at ¶¶ 15-20. This unprocessed grant extension has already

  led to disruptions at NWCOHS, including cancelled grant renewal meetings, inability

  “to provide funded offers of admission for trainees,” and a decrease in the number of

  occupational medicine residents admitted for 2025-2026. Id. ¶ 21. Further, the

  States relied on CDC labs for infectious disease and STD/STI confirmatory testing,

  which is no longer being conducted, requiring the States to now rely on a single lab

  in New York. ECF No. 44-20 at ¶¶ 29-31. This has “strained the [lab’s] resources.”

  Id. ¶ 31. These types of monetary and “tangible-service” harms are undoubtedly

  concrete and particular. See Webb v. Injured Workers Pharmacy, LLC, 72 F.4th 365,

  372 (1st Cir. 2023) (affirming the principle on monetary harms outlined in

  TransUnion that “[i]f a defendant has caused ... monetary injury to the plaintiff, the

  plaintiff has suffered a concrete injury in fact under Article III” (citing TransUnion

  LLC, 594 U.S. at 425)). Again, this is just one of the many harms described by the

  States and for purposes of this analysis at this stage, the Court finds the States have

  satisfied the concrete injury-in-fact requirement of standing.




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        The next part of the standing inquiry is whether the States’ injuries are actual

  and imminent and, because “risk of future harm” is asserted, the Court will

  simultaneously determine if those harms are “sufficiently imminent and substantial.”

  Yellen, 120 F.4th at 910. “This standard is satisfied if the threatened injury is

  certainly impending, or there is a substantial risk that harm will occur.” Id. (internal

  quotations and citation omitted). The States’ declarations describe the current harms

  individual programs and offices have been facing since the RIFs issued and staff was

  placed on leave at the beginning of April. For example, one declarant who was

  employed by DRH stated that “[t]he April 1 RIFs have had an especially damaging

  effect on DRH surveillance systems.       By eliminating the Women’s Health and

  Fertility Branch, long-standing activities ceased that are vital … PRAMS data for

  2025 births is not being collected … and historical data from 1988-2023 are on longer

  available from CDC.” ECF No. 55-4 at ¶ 17. The declarations also make a “clear

  showing” of “sufficiently imminent and substantial” risk of future harm based on the

  June 2 and July 2 RIFs. Murthy, 603 U.S. at 58; Yellen, 120 F.4th at 910. Certainly,

  if the States have been experiencing harm since the RIFs went out in April, it is

  reasonably foreseeable that the harm will continue, and likely worsen, once the RIFs

  take effect, staff are laid off, and more services are discontinued, whether temporarily

  or permanently. The Court is satisfied that the States’ alleged injuries are actual

  and imminent.

        In addition to injury, the States must establish traceability and redressability

  to establish Article III standing. The unrebutted evidence the States submitted in




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  support of their motion for preliminary injunction clearly establishes that the States

  began experiencing harm almost immediately after the publication of the March 27

  Communiqué and the subsequent RIF notices issued to HHS employees. The Court

  is satisfied that the alleged injuries are traceable to HHS’s conduct. With respect to

  redressability, HHS mainly argues that any redressability should be limited and not

  far reaching, not that the issuance of an injunction would fail to redress the States’

  asserted harms. 6 ECF No. 52 at 19. For purposes of standing, the Court finds that

  the States’ injuries could be redressed by this Court and is satisfied that the States

  have standing to bring this cause of action.

        B.     CSRA

        Moving on, the Defendants’ next jurisdictional argument is that the Court

  “lacks jurisdiction to adjudicate plaintiffs’ challenges to the employment decisions of

  federal agencies.” ECF No. 52 at 22. They suggest that the CSRA and FSL-MRS

  require the States’ claims to be channeled through administrative forums. Id. The

  Court is required to analyze the Thunder Basin factors to determine if the States’

  claims “are of the type Congress intended to be reviewed within this statutory

  structure.” Thunder Basin Coal Co. v. Reich, 510 U.S. 200, 212-13 (1994). To that

  end, this Court must analyze (1) whether the claims are “wholly collateral to a




        6 The Defendants argue that the States would “at most have standing to seek

  provision of such information or services—not an order requiring the Department to
  provide it in a particular fashion or with particular staff.” ECF No. 52 at 19.
  However, the Defendants have not provided the Court with any indication about how
  HHS plans to carry on providing services and information to the States during the
  restructuring mentioned in the March 27 Communiqué.


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  statute’s review provisions,” (2) whether the issues are “outside the agency’s

  expertise,” and (3) whether a “finding of preclusion could foreclose all meaningful

  judicial review.” Id. “When the answer to all three questions is yes, ‘we presume that

  Congress does not intend to limit jurisdiction’” to administrative, rather than judicial,

  fora. Axon Enter., Inc. v. Fed. Trade Comm’n, 598 U.S. 175, 186 (2023) (quoting Free

  Enter. Fund, 561 U.S. at 489). To examine this argument, the Court looks to the

  First Circuit’s brief discussion of the issue in Somerville Pub. Schools v. McMahon,

  139 F.4th 63, 71-72 (1st Cir. 2025), as well as the Ninth Circuit’s reasoning and

  conclusion in Am. Fed’n of Gov’t Emps., 2025 WL 1541714, at *3-5 (both cases denying

  motions to stay the grant of preliminary injunctive relief), and concludes that the

  States were not required to channel their claims through an administrative forum.

        Beginning with whether the States’ claims are “wholly collateral to [the

  CSRA’s] review provisions,” the Court finds that the APA and constitutional claims

  the States alleged in this case fall outside the CSRA’s provisions. See Thunder Basin

  Coal Co., 510 U.S. at 212-13. In addition, the claims are clearly outside the purview

  of the MSPB, which “reviews claims by federal employees arising out of specific

  adverse actions taken against them by their employer,” and FLRA, which “reviews

  ‘issues relating to the duty to bargain in good faith’ and unfair labor practices.” Am.

  Fed’n of Gov’t Emps., 2025 WL 1541714, at *3 (citing 5 U.S.C. §§ 7105(a)(2), 7117,

  7118). The Defendants argue that the “[States] cannot step into the shoes of those

  employees and assert claims against the Department that the employees cannot

  themselves assert in federal district court,” ECF No. 52 at 23, but that is not the case




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  here and represents an incorrect reading of the asserted claims. In rejecting the

  channeling argument, the First Circuit noted it was “loath at this juncture of the

  proceedings to” agree with the federal government in finding “that Congress intended

  to bar every challenge to an unlawful effort by the Executive to shut down a

  statutorily created agency by summarily firing its employees en masse[.]” Somerville

  Pub. Schools, 139 F.4th at 71. The harms suffered by the States relate to the sudden

  cessation of critical services and information sharing, not to any specific employee or

  their employment situation. Indeed, these two are intertwined because the reason

  the States have suffered the harm is the March 27 Communiqué and subsequent RIF

  of nearly 10,000 workers. Importantly, the States’ claims do not pertain specifically

  to those workers’ employment relationships or unfair labor practices. The States’

  claims are, therefore, “wholly collateral to [the CSRA’s] review provisions.” Thunder

  Basin Coal Co., 510 U.S. at 212.

        With respect to whether the issues are “outside the agencies expertise”

  (Thunder Basin factor #2), the Ninth Circuit’s explanation on why the MSPB and

  FLRA lack the relevant expertise and jurisdiction to decide the claims is instructive.

  That court turned to Carr, where the Supreme Court noted that “agency

  adjudications are generally ill suited to address structural constitutional challenges.”

  Carr v. Saul, 593 U.S. 83, 92 (2021). The States’ APA and constitutional challenges

  are more “structural constitutional challenges” than challenges to the decisions

  stemming from the employment relationship. Id. HHS also relies on the Supreme

  Court’s decision in Elgin to seemingly argue that the States’ claims are intertwined




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  with areas of agency expertise. ECF No. 52 at 23-24; Elgin v. Dept. of Treasury, 567

  U.S. 1 (2012). Elgin involved plaintiffs who sued in district court after they were

  discharged for failing to register for Selective Service. Elgin, 567 U.S. at 7-8. The

  employees challenged the constitutionality of the law that was relied on to fire them,

  and the Supreme Court found the CSRA precluded district court jurisdiction because

  “[i]n sum … they are covered employees challenging a covered adverse employment

  action.” Id. at 21. The focus of this case is on the March 27 Communiqué’s effect on

  HHS’s ability to perform the duties it was Congressionally created to carry out. It is

  not on why or how employees were fired, or within MSPB or FLRA’s areas of

  expertise. The States’ APA and constitutional challenges, here, are “ill suited” for an

  “agency adjudication.” See Carr, 593 U.S. at 92.

        Lastly, the Court must consider whether channeling the States’ claims “could

  foreclose all meaningful judicial review.” Thunder Basin Coal Co., 510 U.S. at 212-

  13. Channeling the claims would be meaningless when “entire offices and functions

  are being eliminated from federal agencies.” Am. Fed’n of Gov’t Emps., 2025 WL

  1541714, at *5. To reiterate, the States’ challenge to the March 27 Communiqué was

  brought because critical services and information were impacted by the RIFs. This

  Court sees little to no value in requiring employees to bring individual claims about

  their employment status to MSPB or FLRA while the States continue experiencing

  harm to critical services. In this scenario, “[e]ven successful Plaintiffs ‘would return

  to an empty agency with no infrastructure to support a resumption of their work.’”

  Id. (quoting Am. Fed’n of Gov’t Emps., 2025 WL 1482511, at *14). Channeling the




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  States’ claims to administrative fora would indeed “foreclose all meaningful judicial

  review.” Thunder Basin Coal Co., 510 U.S. at 212-13.

        To try and convince this Court otherwise, the Defendants cite to cases that

  they argue support channeling the APA and constitutional claims to administrative

  agencies, but as suggested by the States, those cases are easily distinguishable. See

  e.g., Roth v. United States, 952 F.2d 611, 614-15 (1st Cir. 1991) (finding that the

  CSRA preempted former Federal Aviation Administration employee’s state law claim

  that her former supervisor made slanderous utterances that concerned former

  employee’s job performance); Am. Fed’n of Gov’t Emps., AFL-CIO v. Trump, 929 F.3d

  748, 761 (D.C. Cir. 2019) (explaining “that the unions’ claims fall within the exclusive

  statutory scheme, which the unions may not bypass by filing suit in the district

  court.”). Those claims arose directly from the employee-employer relationship, which

  is different than this case. The Defendants also fail to address the recent, and more

  factually similar, cases where courts have rejected the Defendants’ channeling

  argument. See Somerville Pub. Schools v. McMahon, No. CV 25-10601-MJJ, --- F.

  Supp. 3d ---, 2025 WL 1463009, at *19 (D. Mass. May 22, 2025) (finding the CSRA

  inapplicable when “the magnitude and the proportion of the mass terminations

  accounting for 50% of the Department’s workforce has effectively incapacitated the

  department”); 7 Widakuswara v. Lake, No. 25-cv-1015, --- F. Supp. 3d ---, 2025 WL




        7 Even though this case was initially briefed and argued before the district

  court’s and First Circuit’s decisions in Somerville Pub. Schools, the Court notes that
  HHS has not filed a notice of supplemental authority or supplemental brief
  attempting to distinguish this case from Somerville Pub. Schools. Meanwhile the


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  1166400, at *10-11 (D.D.C. April 22, 2025) (channeling not required when USAGM

  staff were laid off and it caused the agency to “reach[] the breaking point[.]”); Am.

  Fed’n of Gov’t Emps., AFL-CIO v. United States Office of Personnel Mgmt., 771 F.

  Supp. 3d 1127, 1136 (N.D. Ca. 2025) (originally finding no jurisdiction over the

  plaintiffs’ claims due to the CSRA, but finding that channeling not required after the

  issue was fully briefed).

        In all, the States’ claims are properly before this Court and were not subject to

  CSRA channeling.

        C.     Tucker Act

        The last jurisdictional argument the Defendants raise is that the Tucker Act

  compels these claims to be in the Court of Federal Claims.           This argument is

  unavailing and misconstrues the States’ arguments. The States’ claims do not relate

  to a breach of “any express or implied contract with the United States” which would

  require the claims to be heard in the Court of Federal Claims. 28 U.S.C. § 1491(a)(1).

  Further, the Defendants’ reliance on Dept. of Ed. v. California, 604 U.S. ---, 145 S. Ct.

  966, 968 (2025) (per curiam), in which the Supreme Court stayed an injunction and

  held that the Tucker Act would likely apply to a lawsuit related to grant terminations,

  is misplaced because the States’ request is not that “the Government [] pay out past-

  due grant obligations and to continue paying obligations as they accrue.” This case

  is not about grant contracts, it is about HHS’s inability to perform congressionally




  States filed notices of supplemental authority (ECF Nos. 59 and 68) when both the
  district court and First Circuit opinions were issued.


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  mandated tasks during its restructuring, some of which relate to grant

  administration. See, e.g., ECF No. 44-24 at ¶ 15 (“An email was sent to CDC Grants

  Management Office . . . and a response was returned indicating that grant staff were

  also on leave.”); ECF No. 44-27 at ¶ 13 (discussing how “all but one member of the

  Early Hearing Intervention and Direction team was laid off, and as a result…the

  review of future grant applications was on hold”).

        The States suggest that their claims are more aligned with the principles

  outlined in Bowen v. Massachusetts, 487 U.S. 879 (1988), because the States are

  seeking an order setting aside unlawful agency action, not an order to require specific

  performance or compensation under any contract. In Bowen, the Supreme Court

  examined whether “a federal district court ha[d] jurisdiction to review a final order

  of the Secretary of [HHS] refusing to reimburse a State for a category of expenditures

  under its Medicaid program.” Id. at 882. In declining to apply the Tucker Act, the

  Supreme Court analyzed the plain language of the APA and stated “two reasons why

  the plain language of this amendment does not foreclose judicial review of the actions

  brought by the States challenging the Secretary’s disallowance decision.” Id. at 893.

  First, the States sought declaratory and injunctive relief, “and more importantly,

  even the monetary aspects of the relief that the State sought are not ‘money damages’

  as that term is used in the law.” Id. The Court went on to say, “[i]t seems perfectly

  clear that, as the reviewing court, the District Court had the authority to hold

  unlawful and set aside agency action that it found to be not in accordance with law.”

  Id. at 911 (internal quotations omitted).




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        The Court agrees and finds persuasive the States’ argument that “[t]he funding

  loss to Plaintiff States is caused by the March 27 [Communiqué] not because the

  [Communiqué] directly cut funding to the States, but because the [Communiqué]

  resulted in funding collapsing due to lack of staff.” ECF No. 54 at 15-16. The facts

  here fit squarely into the reasoning in Bowen. Accordingly, the States’ claims are not

  of such a type that would require the States to seek relief in the Court of Federal

  Claims. Simply put, the Tucker Act plays no role here.

        D.     Preliminary Injunction Factors

        Now that the Court has determined it has jurisdiction, the Court can turn to

  the preliminary injunction factors.

               1.    Likelihood of Success on the Merits

         The most important consideration before this Court when determining a

  request for a preliminary injunction is whether the States have shown a substantial

  likelihood of success on the merits. Ryan v. U.S. Immigr. & Customs Enf't, 974 F.3d

  9, 18 (1st Cir. 2020) (noting that the “movant’s likelihood of success on the merits

  weighs most heavily in the preliminary injunction calculus”); see also New Commc’n

  Wireless Servs., Inc. v. SprintCom, Inc., 287 F.3d 1, 9 (1st Cir. 2002) (holding that

  likelihood of success on the merits is the “sine qua non” of the four-part preliminary

  injunction inquiry). To meet this burden, plaintiffs “must show more than mere

  possibility of success—rather, they must establish a strong likelihood that they will

  ultimately prevail.” Fortuño, 699 F.3d at 10 (cleaned up). However, a “court’s

  conclusions as to the merits of the issues presented on preliminary injunction are to




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  be understood as statements of probable outcomes.” Narragansett Indian Tribe, 934

  F.2d at 6.    Thus, at the preliminary injunction phase, this Court “need not

  conclusively determine the merits of the underlying claim.” Ross-Simons of Warwick,

  102 F.3d at 16.

        As previewed above, the States have argued that the March 27 Communiqué

  violates the Administrative Procedure Act (“APA”), 5 U.S.C. § 706(2), “because it is

  arbitrary and capricious and contrary to law.” ECF No. 43 at 30 (citing 5 U.S.C.

  § 706(2)(A)); see also ECF No. 1 ¶¶ 333, 342, 356, 357. The States also allege that

  the Communiqué is at odds with the Separation of Powers and the Appropriations

  Clause, rendering it unconstitutional. Id. And finally, the States insist that the

  Communiqué is ultra vires because the Secretary operated without any constitutional

  or statutory authority to “effectively incapacitate or transfer the Department’s core

  statutory functions.” Id. So long as this Court finds one of the above counts as likely

  to succeed, it may grant a preliminary injunction. See, e.g., Woonasquatucket River

  Watershed Council v. U.S. Dep’t of Agric., No. 1:25-CV-00097-MSM-PAS, 2025 WL

  1116157, at *10 (D.R.I. Apr. 15, 2025) (stating plaintiffs need only show likelihood of

  success on the merits on one claim); Nat’l Council of Nonprofits v. Off. of Mgmt. &

  Budget, No. CV 25-239 (LLA), 2025 WL 597959, at *15 n.12 (D.D.C. Feb. 25, 2025)

  (same); Worthley v. Sch. Comm. of Gloucester, 652 F. Supp. 3d 204, 215 (D. Mass.

  2023) (same). The Court will first turn its attention to whether the States have

  demonstrated a likelihood of success on the merits of its APA claims.




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                  a. Administrative Procedure Act Claims

        The APA enables judicial review of the “procedure and substance” of final

  agency decisions alleged to violate federal law for which “there is no other adequate

  remedy in a court.” Union of Concerned Scientists v. Wheeler, 954 F.3d 11, 19 (1st

  Cir. 2020) (citing 5 U.S.C. § 551 et seq. and 5 U.S.C. § 706(2)); 5 U.S.C. § 704). The

  reviewing court may hold unlawful and set aside final agency action that is found to

  be arbitrary and capricious or otherwise not in accordance with law.         5 U.S.C.

  § 706(2).

                             i. Final Agency Action

        The Court must establish that the March 27 Communiqué may properly be

  classified as final agency action, making it subject to this Court’s jurisdiction

  pursuant to the APA. As a preliminary matter, the Court must determine that a

  party is targeting “its attack against some particular ‘agency action’ that causes it

  harm[,]” and is not “seeking wholesale improvement of an administrative program by

  court decree, rather than in the offices of the agency or the halls of Congress, where

  programmatic improvements are normally made.” Lujan, 497 U.S. at 891. Agency

  action is an expansive term, which practically covers nearly “every manner in which

  an agency may exercise its power.” Whitman v. Am. Trucking Ass’ns, 531 U.S. 457,

  478 (2001) (citation omitted). By definition, agency action can take many forms,

  including a rule, 8 order, sanction, or the equivalent thereof. 5 U.S.C. § 551(13). The



        8 The United States Code defines “rule” as the “whole or a part of an agency

  statement of general or particular applicability and future effect designed to
  implement, interpret, or prescribe law or policy or describing the organization,


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  examination of whether an agency’s action may be considered “final” hinges on two

  criteria. First, the action must “[mark] the ‘consummation’ of the agency’s decision

  making process,” meaning the agency has “rendered its last word on the matter.”

  Bennett v. Spear, 520 U.S. 154, 177 (1997) (citing Chicago & Southern Air Lines, Inc.

  v. Waterman S.S. Corp., 333 U.S. 103, 113 (1948)); Harrison v. PPG Indus. Inc., 446

  U.S. 578, 586 (1980). Second, the agency action must determine rights or obligations

  or create legal consequences.     Bennett, 520 U.S. at 178.       The Supreme Court

  frequently “[interprets] the finality element in a pragmatic way.” Abbott Labs. v.

  Gardner, 387 U.S. 136, 149 (1967).

               Programmatic Improvements or Particular Agency Action

        The Defendants attack the States’ claims by asserting that judicial review in

  this case under the APA is improper because the States are making a programmatic

  challenge instead of challenging a single, discrete action. ECF No. 52 at 27. The

  Defendants claim the States are seeking “comprehensive judicial review of a planned

  restructuring outlined by a press release, and their requested preliminary relief

  would freeze that eventual restructuring in its tracks as to CDC, CTP, OHS and its

  regional offices, and ASPE.” Id. Invoking Lujan, 497 U.S. at 899, they argue that the

  States are asking this Court to operate outside the bounds of the APA and perform a

  “general judicial review of [the agency’s] day-to-day operations.” Id. at 26. In their



  procedure, or practice requirements of an agency and includes the approval or
  prescription for the future of rates, wages, corporate or financial structures or
  reorganizations thereof, prices, facilities, appliances, services or allowances therefor
  or of valuations, costs, or accounting, or practices bearing on any of the foregoing.” 5
  U.S.C. § 551.


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  defense, the States contend that HHS’s reference to Lujan is misplaced. Unlike

  Lujan, which involved a “variety of programmatic deficiencies” and an “attempt to

  seek wholesale programmatic improvements,” the States say, in this case only the

  Communiqué is being challenged as a single, discrete action, for which they are

  seeking limited relief for a subset of that action. ECF No. 54 at 19 (quoting New York

  v. Trump, 133 F.4th 51, 67 (1st Cir. 2025)).

        This Court is not persuaded by the Defendants’ argument that the States are

  launching a programmatic challenge because the States are indeed challenging the

  discrete March 27 Communiqué.            It is this action that ushered in sweeping

  terminations and administrative leaves that essentially eviscerated many of the

  public health programs on which the States rely.        Contrary to the Defendants’

  assertions, the record does not indicate that the States are seeking “wholesale

  improvement” of a program, as was sought in Lujan. See 497 U.S. at 890-891.

  Remarkably, the Defendants fail to explain why a communication that foists mass

  terminations and is implemented to effectively discontinue sub-agencies would not

  constitute a “discrete” agency action.

                      Consummation of Agency’s Decision Making

        Moving to the first prong of the Bennett analysis, see 520 U.S. at 177, the

  States posit that the March 27 Communiqué is final agency action because it marked

  the consummation of the Agency’s decision making. ECF No. 43 at 31. They observe

  that the Defendants began enforcing the tenets of the Communiqué within days of its

  publication, issuing notices of termination and administrative leave to thousands of




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  HHS employees, which left many without access to their emails, laptops and offices.

  Id. at 13.    They further note that Secretary Kennedy himself referred to the

  Communiqué as “decisive action” in Congressional hearings in May of this year. ECF

  No. 54 at 20. In rebuttal, the Defendants highlight that the March 27 Communiqué

  is titled “Press Release” and that no court has considered a press release final agency

  action, insisting that the Communiqué is tentative. ECF No. 52 at 29. Accordingly,

  HHS asserts that the decision-making process is “ongoing and evolving,” observing

  specifically that the Communiqué itself states that the Agency “will continue to look

  for further ways to streamline its operations and agencies.” Id. at 28-29. The States

  reply that potential future actions by HHS does not foreclose APA review of actions

  already taken. ECF No. 54 at 20.

           The Court is satisfied that the March 27 Communiqué meets the pragmatic

  and flexible finality standard for purposes of judicial review under the APA. See

  Bennett, 520 U.S. at 177. The Communiqué amounted to an announcement, not a

  suggestion, of the Defendants’ plans to implement an absolute reorganization. The

  RIF notices further underscored HHS’s intentions to fulfill the plans announced in

  the Communiqué. Such an immediate and sweeping termination of critical staff and

  the closure of divisions and offices surely marks the culmination of the Agency’s

  decision to implement the Communiqué. The mere fact that additional cuts may also

  be implemented does not prevent this Court from reviewing the actions already

  taken.     The Defendants do not proclaim an intention to reverse all the mass




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  terminations in the absence of judicial intervention, nor do they suggest they will

  reinstate closed programs or offices or resuscitate transferred programs.

                                   Legal Consequences

           Regarding the second prong (that the agency action must determine rights or

  obligations or create legal consequences, Bennett, 520 U.S. at 177), the States

  maintain that the format of the Communiqué is irrelevant. Press release or not, they

  argue that the direct, immediate and negative legal consequences resulting from the

  Communiqué are without question. After its issuance, the States assert that the

  Agency’s “critical work ground to a halt,” ECF No. 43 at 31, as a result of the RIFs

  issued to 10,000 employees swiftly following the Communiqué’s publication.

  Conversely, the Defendants maintain that the States have not experienced any

  “direct and appreciable legal consequences.” ECF No. 52 at 29 (quoting Cal. Cmtys,

  Against Toxins v. EPA, 934 F.3d 627, 638 (D.C. Cir. 2019)).

           The States have demonstrated to this Court that clear legal consequences

  resulted from the issuance of the Communiqué. The States are unable to access

  previously available funds, guidance, research, screenings, compliance oversight,

  data, and, importantly, the expertise and guidance on which they have long relied.

  HHS’s decision to dismiss employees and shut down entire programs and offices

  further demonstrate self-evident legal consequences. For example, in the case of

  NIOSH, the Agency issued RIFs or Intent-to-RIF letters to nearly 90% of the sub-

  agency’s employees. As a result, NIOSH occupational research programs and mine

  safety    research   programs   have   been    effectively   discontinued.    Such   an




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  announcement, along with the swift actions taken by the Defendants to execute the

  plans of the Communiqué clearly marked the “consummation of the agency’s decision

  making process” which triggered legal consequences.

        Overall, the Court concludes that the March 27 Communiqué constitutes final

  agency action. As such, this Court is satisfied that the States are challenging a single,

  discrete action and not seeking programmatic change, that the decision-making

  process regarding that action is complete, and that the result of that action has

  already and will continue to directly affect the States. Next, the Court will engage in

  the APA analysis for setting aside final agency action that is arbitrary and capricious

  or contrary to law.

                             ii. Arbitrary and Capricious

        Final agency action may be set aside by the reviewing court as arbitrary and

  capricious if the “administrative record reveals that ‘the agency relied on improper

  factors, failed to consider pertinent aspects of the problem, offered a rationale

  contradicting the evidence before it, or reached a conclusion so implausible that it

  cannot be attributed to a difference of opinion or the application of agency expertise.’”

  Atieh v. Riordan, 727 F.3d 73, 75-76 (1st Cir. 2013) (quoting Associated Fisheries v.

  Daley, 127 F.3d 104, 109 (1st Cir. 1997)); see also Motor Vehicle Mfrs. Ass’n v. State

  Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). In essence, an agency must precede

  its action with an assessment of relevant data and be prepared to explain the basis

  of such action with a “rational connection between the facts found and the choice

  made.” Motor Vehicle Mfrs. Ass’n, 463 U.S. at 43 (citing Burlington Truck Lines, Inc.




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  v. United States, 371 U.S. 156, 168 (1962)). The “reasoned explanation requirement

  . . . is meant to ensure that agencies offer genuine justifications for important

  decisions, reasons that can be scrutinized by courts and the interested public.” DOC

  v. New York, 588 U.S. 752, 785 (2019). A “court may not substitute its own policy

  judgement for that of the agency,” but instead, must ensure that the “agency has

  acted within a zone of reasonableness.” FCC v. Prometheus Radio Project, 592 U.S.

  414, 423 (2021); but see California v. United States Dep’t of Educ., 132 F.4th 92, 98

  (1st Cir. 2025) (noting that judicial review of agency is action is “narrow in scope”).

        The States argue that the March 27 Communiqué is arbitrary and capricious

  because it was issued without a rational basis and its justification rested on

  conclusory statements and unsupported evidence.          ECF No. 43 at 31-36.       The

  Defendants, they argue, did not engage in a “logical and rational” decision-making

  process in issuing and carrying out the Communiqué. Id. at 32 (quoting Allentown

  Mack Sales & Serv., Inc. v. N.L.R.B., 522 U.S. 359, 374 (1998)). As a result, the States

  assert, the Defendants neglected to consider that “the sudden reorganization and

  elimination of a large portion of HHS’s workforce would cause immediate and

  significant disruption to agency operations and functions,” including those that are

  statutorily mandated. Id. at 33. In addition, contrary to the requirements of the

  APA, the States assert, the Defendants did not assess the pros and cons of its actions,

  including the “indirect costs associated with their purported cost-cutting measures.”

  Id. As examples, the States point to the closure of the viral hepatitis laboratory which

  will burden States to devise “alternative ways to replicate that laboratory’s highly




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  sophisticated system for tracking Hepatitis C virus infections,” as well as to the

  States’ reliance “on many of Defendant’s programs and services, such as testing for

  communicable diseases, data on health outcomes, and standards for occupational

  health.”   Id. at 33-34. Finally, the States stress that the Defendants have not

  explained or demonstrated any nexus between the restructuring announced in the

  Communiqué and meeting the Agency’s goals of increased efficiency and “ending

  America’s epidemic of chronic illness, by focusing on safe, wholesome food, clean

  water, and the elimination of environmental toxins.”      Id. at 34-35. The States

  carefully note Secretary Kennedy’s clear admission that a careful review of

  employee’s job responsibilities before issuing RIFs did not take place because doing

  so would “take too long” and would sacrifice “political momentum.” Id. at 12, 32; ECF

  No. 54 at 22.

        The Defendants counter that the Communiqué is indeed based on a “cost-

  benefit analysis,” arguing that the States “overlook the cost-saving value of actions

  like consolidating redundant departments.” ECF No. 52 at 34. They emphasize that

  HHS has “broad discretion to choose how to marshal its limited resources and

  personnel to carry out its delegated responsibilities,” including implementing RIFs

  and restructuring the sub-agencies. Id. (quoting Scarborough Citizens Protecting

  Res. v. United States Fish & Wildlife Serv., 674 F.3d 97, 100 (1st Cir. 2012)). If the

  Court disagrees, the Defendants suggest the “proper course” would be to “remand to

  the [Department] for additional . . . explanation.” Id. at 35 (quoting Florida Power &

  Light Co. v. Lorion, 470 U.S. 729, 744 (1985)).




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         When looking to HHS’s explanation for its action, the Court must look to “the

  grounds that the agency invoked when it took the action.” Michigan v. EPA, 576 U.S.

  743, 758 (2015). Review of the lone declaration provided by the Defendants, the

  March 27 Communiqué, and the various testimonies of Secretary Kennedy has not

  revealed a reasoned explanation for the agency action by the Defendants. Instead of

  undertaking an intentional and thoughtful process for weighing the benefits and

  drawbacks of implementing the sweeping policy change, the Defendants hastily

  restructured the sub-agencies and issued RIF notices. The Defendants have failed to

  demonstrate how the workforce terminations and restructurings made the sub-

  agencies more efficient, saved taxpayer dollars, or aligned with HHS’s priority of

  “ending America’s epidemic of chronic illness, by focusing on safe, wholesome food,

  clean water, and the elimination of environmental toxins.” ECF No. 44-1 at 3. In

  fact, the record is completely devoid of any evidence that the Defendants have

  performed any research on the repercussions of issuing and executing the plans

  announced in the Communiqué. Without a modicum of evidence to the contrary, the

  record shows that the Defendants did not consider the “substantial harms and

  reliance interests” of the States and the devastating consequences that would be felt

  by the populations served by these critical public health programs. See New York v.

  McMahon, 2025 WL 1463009, at *60 (citing Michigan v. E.P.A., 576 U.S. at 753). The

  States and their local agencies that rely on these programs had no reason to suspect

  that they would be abruptly wiped clean of all personnel and rendered unable to fulfill

  their statutorily mandated functions. Unable to perceive any rational basis for the




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  Agency’s actions, the Court concludes that HHS’s actions in implementing the March

  27 Communiqué were both arbitrary and capricious.

        The Defendant’s suggestion that this Court remand the agency action to HHS

  for a comprehensive explanation is without merit. A reviewing court has discretion

  to take any steps it deems necessary to prevent irreparable injury before a final

  judgment is reached.     See 5 U.S.C. § 705 (“To prevent irreparable injury, the

  reviewing court . . . may issue all necessary and appropriate process to postpone the

  effective date of an agency action or to preserve status or rights pending conclusion

  of the review proceedings.”). Because this Court finds that it is also likely that

  Defendants acted contrary to law (see discussion below), remand for further

  explanation is not appropriate in this case. See McMahon, 2025 WL 1463009, at *28;

  see also Florida Power & Light Co., 470 U.S. at 744 (holding that remand is the

  “proper course, except in rare circumstances” when the agency’s actions are held

  arbitrary and capricious for an inadequate explanation). Thus, the States have

  established a likelihood of success on demonstrating that the Defendants

  unreasonably exercised their discretion, in violation of the APA.

                           iii. Contrary to Law

                                   1. Congressionally Mandated Functions

        The Court now shifts to the States’ APA-based claim that HHS acted contrary

  to law. The APA instructs a reviewing court to “hold unlawful and set aside” agency

  actions that are contrary to any law, “not merely those laws that the agency itself is

  charged with administering.” 5 U.S.C. § 706(2)(A); FCC v. NextWave Pers. Commc’ns




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  Inc., 537 U.S. 293, 300 (2003). “An agency may not confer power upon itself,” but

  instead must operate within the bounds “authoritatively prescribed by Congress.”

  La. Pub. Serv. Comm’n v. FCC, 476 U.S. 355, 374 (1986); City of Arlington v. FCC,

  569 U.S. 290, 297 (2013).

        The “statutory scheme governing federal appropriations are at the forefront of

  the States’ contrary to law claims against the Agency Defendants.” New York, 769

  F. Supp. 3d at 137-38.      The States allege that the “mass terminations and

  reorganization of the Department [of HHS] under the [Communiqué] make it

  functionally impossible for the Department [of HHS] to comply with its obligations

  under numerous federal statutes.” ECF No. 43 at 36. They present numerous

  instances in which the Communiqué conflicts with statutory mandates of HHS’s sub-

  agencies. The States claim as follows.

                        NIOSH’s Occupational Safety Research 9

        Several Congressional statutes command the work of NIOSH.                  The

  Occupational Safety and Health Act, 29 U.S.C. §§ 669(a), 671(c)(2), mandates NIOSH

  to conduct occupational safety and health research and the Mine Improvement and

  the New Emergency Response Act of 2006, 29 U.S.C. § 671(h)(3), directs NIOSH to

  promote “research, development, and testing of new technologies and equipment

  designed to enhance mine safety and health.” See also 30 U.S.C. §§ 937(b), 951(a)-(b)

  (requiring NIOSH to conduct research on mine worker health and mine safety); ECF




        9 RIFs issued to NIOSH employees were later rescinded by the Agency and will

  be considered further below.


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  No. 54 at 23. The States allege that, as a result of the Communiqué, NIOSH’s

  occupational research programs remain largely shuttered. Id. They claim NIOSH’s

  mine safety research divisions that operate out of Spokane and Pittsburgh have been

  eliminated as there are no employees to conduct such research. Id.

         CDC National Center on Birth Defects and Developmental Disabilities

        The Children’s Health Act of 2000, 42 U.S.C. §§ 247b-4a(a)(1-2), (d)(1),

  mandates this Center to “make awards of grants or cooperative agreements to provide

  technical assistance to State agencies to complement an intramural program and to

  conduct applied research related to newborn and infant hearing screening, evaluation

  and intervention programs and systems.” ECF No. 54 at 24. The States allege that

  the Communiqué precipitated the elimination of the entire Early Hearing Detection

  and Intervention team at this Center. Id. Grantees of the States are now being told

  that future grant applications are “on hold” and the “typical functions of project

  officers, health data scientists and evaluation scientists are not occurring.” Id.

                           FDA’s Center for Tobacco Products

        The Family Smoking Prevention and Tobacco Control Act, 21 U.S.C.§ 387(a),

  et seq., established the CTP as a vehicle for the FDA to regulate tobacco products. As

  a result of the Communiqué and its ensuing terminations and restructurings, no

  employees remain to support contract acquisitions and monitor payroll in the office

  responsible for tracking tobacco user fees, the main funding stream for the CTP. ECF

  No. 54 at 24. The States also claim the RIFs eliminated entire teams responsible for

  health communication and education projects, including “The Real Cost” campaign,




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  a national tobacco prevention advertising campaign, leaving that work abandoned.

  Id. at 25.

                               Lead Poisoning Programs 10

         The States assert that the Lead Contamination Control Act of 1988, 42 U.S.C.

  §§ 247b-3, 10, directed HHS and the CDC to work on the prevention of lead poisoning

  and asthma control through the National Center for Environmental Health’s

  (“NCEH”) data collection, surveillance, publication, collaborative efforts, education,

  and technology assessment. Id. Since the Communiqué, the States allege that nearly

  everyone at NCEH supporting the statutory work has been laid off and no one

  remains to carry out the congressionally mandated functions. Id.

                     Reproductive and Maternal Health Programs

         Congress has mandated HHS to “continue a federal initiative to support State

  and tribal maternal mortality review committees,” and “to improve data collection

  and reporting around maternal mortality.” 42 U.S.C. § 247b-12(a)(1)-(a)(2). The

  States allege the Communiqué generated the demolition of the PRAMS team, which

  completed data collection efforts and provided support for state programs. ECF No.

  54 at 25.




         10 The Agency rescinded RIFs issued to some NCEH employees on June 16,

  2025. According to the agency, the reinstated employees in NCEH’s Lead Poisoning
  Prevention and Surveillance Branch will “assist in restoring functionality to the
  Childhood Lead Poisoning Prevention Program” in the areas of program services,
  epidemiology and surveillance, and guidance and recommendations. ECF No. 70-1
  at 4.


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                          HIV and STD Prevention Program 11

        The States also claim that 42 U.S.C. §§ 300ee-4; ee-11; ee-31 direct HHS to

  undertake a range of programs targeting the prevention of HIV/AIDS, including

  providing technical assistance, administering grants to States, and implementing

  public awareness campaigns. They lament that since the Communiqué issued, all

  work previously conducted by CDC’s National Center for HIV, Viral Hepatitis, STD,

  and Tuberculosis Prevention has been halted. Id. at 25-26.

                              Federal Poverty Guidelines

        HHS has been directed to annually revise the Federal Poverty Guidelines. 42

  U.S.C. § 9902(2). The States contend that the guidelines’ information on the ASPE

  website is not currently being updated. Id. at 26.

        ***

        In response to these allegations, the Defendants aver that HHS is still willing

  and able to comply with all its statutory obligations. ECF No. 52 at 35-36. To signal

  such intentions, they note that over three hundred RIFs have been recalled for

  NIOSH employees. Id. at 36. In addition, they assert that the closure of “some



        11 On June 16, 2025, the Agency rescinded RIFs issued to some employees of

  the National Center for HIV, Viral Hepatitis, STD, and TB Prevention (“NCHHSTP”).
  According to the Defendants, employees subject to the RIF recissions issued from the
  NCHHSTP Laboratory Branch and STD Laboratory Reference and Research Branch
  will assist in restoring the functionality of the Viral Hepatitis Laboratory, which
  supports outbreak investigations. Employees in the Behavioral and Clinical
  Surveillance Branch will restore the HIV Medical Monitoring Project, which provides
  information on the quality of life for people living with HIV. And finally, those
  recalled employees of the Disease Intervention and Response Branch will assist in
  restoring support for state health departments in investigating and responding to
  outbreaks of sexually transmitted infections. ECF No. 70-1 at 4-5.


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  regional offices” does not automatically “prevent the [Agency] from providing

  services.” Id. at 36. Furthermore, the Defendants argue, the States allege statutory

  violations either where no obligations exist, as in the case of Head Start, or where

  HHS has already fulfilled its obligations, noting that the annual revision of the

  Federal Poverty Guidelines has already been completed for 2025. Id. at 10, 36.

        The States dismiss the notion that the reinstatements of some NIOSH

  employees ameliorate the harm caused by HHS’s action. They argue that “despite

  the Secretary’s recent purported May 13, 2025, reinstatements of some employees,

  NIOSH’s research laboratories and divisions remain shuttered” leaving the

  department “unable to fulfill its statutory responsibilities as an occupational health

  research institute.” ECF No. 54 at 23. They remark that the ASPE has announced

  on its website that the “‘information’ on its website (including the Federal Poverty

  Guidelines page) is ‘not being updated currently’” and express concern regarding the

  integrity of future calculations. Id. at 26.

        Here, the Court finds that the Communiqué contravenes congressional

  directives and statutory law. The States have presented copious clear examples in

  which Congress has appropriated funds to the federal programs and outlined how

  those funds are to be used. 12 The Defendants, on the other hand, have yet to proffer



        12  The Court recognizes the Defendants’ position that the Congressional
  statutes governing Head Start make site visits discretionary and so the failure to
  perform site visits is not necessarily in contravention to the law governing
  management of the programs. As for the allegation that HHS has violated its
  obligation to update the Federal Poverty Guidelines, the Court acknowledges some
  data has been updated but is troubled by the inactivity of the ASPE website in light
  of the requirements of 42 U.S.C. § 9902(2) to perform ongoing comprehensive


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  any evidence demonstrating that the planned terminations would not decimate the

  Congressionally created sub-agencies or inhibit them from fulfilling their mandates.

  The catastrophic effects documented by the States illuminate that reality. In the

  Court’s view, the States have substantiated that HHS is already unable to fulfill

  many of its statutory functions in light of the Communiqué.             Given that the

  Communiqué is for all intent and purpose dismantling critical, statutorily mandated

  functions of the Agency, this Court finds that it is contrary to law.

                                   2. Congressionally Mandated Appropriations

        The parties further dispute whether the Communiqué telegraphs HHS’s

  decision not to spend congressionally appropriated funds. The States assert that the

  Defendants “usurp[ed] Congress’ power of the purse by disregarding congressional

  appropriations” when it announced layoffs and reorganization which would “save

  taxpayers $1.8 billion per year,” as “it is Congress who must make the decision

  whether to cut programs for taxpayer savings.” ECF No. 43 at 45 (citing AIDS

  Vaccine Advocacy Coalition v. U.S. Dep’t of State, 770 F. Supp. 3d 121, 147-48 (D.D.C.

  2025). The Defendants protest that HHS has not refused to “spend appropriated

  funds on statutorily mandated programs, and [that] saving taxpayer money by

  consolidating functions and reducing personnel redundancy is not inherently

  inconsistent with spending appropriated funds.” ECF No. 52 at 36. They contend



  calculations, including an analysis of the Census Bureau poverty thresholds with the
  relevant percentage change in the Consumer Price Index for All Urban Consumers,
  consideration of inflation rate, and rounding and standardizing adjustments.
  https://perma.cc/LV38-9VEE; see also Federal Register Vol. 87, No. 14, Friday,
  January 21, 2022, https://perma.cc/6VCU-W734.


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  that the States’ claims are premature, as not “enough time [has elapsed] to diagnose

  a failure to spend prescribed money.” Id. Ultimately, they rely on Lincoln v. Vigil,

  508 U.S. 182 (1993) (in which the Supreme Court held the decision to discontinue the

  Indian Children’s Program by the Indian Health Service agency was ‘committed to

  agency discretion by law’ pursuant to the APA because it pertained to the allocation

  of funds from a lump-sum appropriation and was within the permissible statutory

  objectives), to argue that HHS has “unreviewable discretion to make choices on how

  the appropriations are spent.” Id. at 184. ECF No. 52 at 37 (citing Lincoln, 508 U.S.

  at 192). But according to the States, “the unrebutted record shows that Congress has

  appropriated billions of dollars that Defendants will be unable to spend, [due to the

  Communiqué], including over $190 million to CDC’s National Center for

  Environmental Health, over $50 million dedicated to addressing childhood lead

  poisoning, and nearly $1.2 billion to the CDC center that oversees the Office on

  Smoking and Health and the Division of Reproductive Health.” ECF No. 54 at 26.

  The States contrast Lincoln, noting that here, unlike in Lincoln, “Congress has

  [expressly] appropriated funds for the subagencies and centers that the March 27

  [Communiqué] effectively ended.” Id. at 27.

        Defendants have not persuaded this Court that the Secretary’s authority is “so

  broad that [he] can unilaterally dismantle a department by firing nearly the entire

  staff, or that [his] discretion permits [him] to make a ‘shell’ department.” McMahon,

  2025 WL 1463009, at *28. Plaintiffs have the better argument here. Lincoln held

  that “an agency is not free simply to disregard statutory responsibilities: Congress




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  may always circumscribe agency discretion to allocate resources by putting

  restrictions in the operative statutes.” Lincoln, 508 U.S. at 193 (labeling an action

  unreviewable because Congress granted the agency discretion for how to spend the

  lump sum).    In the case at hand, Congress directed HHS to maintain specific

  initiatives with the support of the Congressional appropriations pursuant to the

  applicable statutes.    HHS cannot decide for itself whether it has exceeded its

  statutory authority because there are Congressional statutes in place to serve as

  guardrails to the Agency’s actions. See California v. U.S. Dep’t of Educ., 132 F.4th

  92, 97-98 (1st Cir. 2025) opinion stayed on other grounds, (explaining that “applicable

  regulations cabin the [agency’s] discretion as to when it can terminate existing

  grants” which provide the Court with a meaningful framework to judge the agency’s

  action). The Defendants’ efforts to portray the Communiqué and its whiplash as a

  matter of agency discretion despite the snub of Congressional mandates is without

  merit. An examination of the relevant statutes supports the conclusion that Congress

  never meant to confer HHS the power to self-destruct. See W. Virginia v. EPA, 597

  U.S. 697, 721 (2022) (holding that “[w]here the statute at issue is one that confers

  authority upon an administrative agency, that inquiry must be shaped, at least in

  some measure, by the nature of the question presented – whether Congress in fact

  meant to confer the power the agency has asserted”).       The Defendants here have

  failed to submit any evidence that HHS can meet its Congressional orders without

  applying the federal appropriations and employing the essential staff and experts

  who run its programs.




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        Consequently,     this   Court   concludes    that   the   Defendants   usurped

  Congressional power to manage the public health appropriations at stake and that

  the States are likely to succeed on their “contrary to law” claims. 13 The Court need

  not go further and decided the Plaintiffs’ additional claims. See Vaquería Tres

  Monjitas, Inc. v. Pagan, 748 F.3d 21, 26 (1st Cir. 2014) (noting that “federal courts

  are not to reach constitutional issues where alternative grounds for resolution are

  available” (quoting Am. Civil Liberties Union v. U.S. Conference of Cath. Bishops,

  705 F.3d 44, 52 (1st Cir. 2013))). The Court now turns to whether the Plaintiffs

  satisfy the other requirements for injunctive relief.

             2. Irreparable Harm

        The next step in the injunction inquiry is whether the States are “likely to

  suffer irreparable harm in the absence of preliminary relief.” Winter, 555 U.S. at 20.

  To guide this analysis, the Court looks to whether the States have suffered “a

  substantial injury that is not accurately measurable or adequately compensable by

  money damages.” Ross-Simons of Warwick, Inc., 102 F.3d at 19. The States must

  show that “irreparable injury is likely,” Winter, 555 U.S. at 22, and it “must be

  grounded on something more than conjecture, surmise, or a party’s unsubstantiated




        13  The Defendants attempt to characterize the States’ request for relief as
  actually a claim pursuant to 5 U.S.C. § 706(1). But the States claims are clearly
  alleged under § 706(2). The States do not seek to compel agency action withheld or
  delayed, pursuant to 5 U.S.C. § 706(1). As Plaintiffs eloquently state, “the fact that
  agencies have stopped acting is a consequence of the March 27 [Communiqué], but it
  is not the agency inaction that the Plaintiffs seek to remedy.” ECF No. 54 at 21.


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  fears of what the future may have in store,” Charlesbank Equity Fund II v. Blinds To

  Go, Inc., 370 F.3d 151, 162 (1st Cir. 2004).

         The Court already determined that the States have a concrete injury to

  establish Article III standing but will now explain why those injuries constitute

  irreparable harm for the purposes of the preliminary injunction analysis. Two very

  recent decisions guide this Court’s discussion. In a similar case involving RIFs issued

  to Department of Education employees, the First Circuit recently denied the federal

  government’s motion to stay the district court’s decision to grant a preliminary

  injunction, preventing the federal government from moving forward with RIFs.

  Somerville Pub. Schools, 139 F.4th at 76. The Court agreed that the District Court

  record “sufficed to support the plaintiffs’ contention that the disabling of the

  Department’s statutorily assigned functions caused by the challenged actions would

  jeopardize their ability to proceed with their programs.” Id. at 75. This harm was

  more compelling and irreparable than the government’s asserted harm of “not be[ing]

  able to recoup those expenditures.” Id.

        Prior to the First Circuit issuing its opinion affirming the denial of a stay in

  Somerville Pub. Schools, a colleague in this Court issued an injunction where the

  States “presented a plethora of declarations illustrating . . . myriad . . . harms arising

  from the undoing of [the agency].” Rhode Island v. Trump, No. 1:25-cv-128, 2025 WL

  1303868, at *15 (D.R.I. May 6, 2025). The harms in that case included the loss of

  data, delays in funding leading to a hiring freeze and stopping services, loss of

  mediation services to resolve public sector labor disputes, delays in services and




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  programs, loss of access to federal resources, and loss of federal services and

  assistance. Id. at *15-17. The Court found “the implementation of the [Executive

  Order] at [the agencies] ha[d] disrupted numerous critical state” resources and

  programs. Id. at *17.

        Here, the States go into detail about the substantial harm that they are facing

  from the Communiqué’s application to CDC lab services, DRH, NIOSH, OSH/CTP,

  OHS, federal poverty guidelines, NCEH, and the National Center for Birth Defects

  and Disabilities. See generally ECF No. 43 at 46-60. The Defendants argue that the

  States will not face irreparable harm because the injuries “are not sufficiently

  concrete or imminent to establish,” that the injury “is readily measurable in monetary

  terms and compensable by final judgment,” and the fact that the States waited “over

  a month to seek injunctive relief.” 14 ECF No. 52 at 39-40.

        Following Somerville Pub. Schools and Rhode Island, this Court finds the

  March 27 Communiqué and RIF of nearly 10,000 HHS employees has launched

  several HHS programs into a rapid freefall away from their statutory obligations,

  thereby irreparably harming the States.

         The Court also rejects Defendants’ assertions that the States’ injuries “are not

  sufficiently concrete or imminent to establish,” and that the injury “is readily



        14 The Court can dismiss the delay in filing argument right off the bat.     The
  Communiqué was issued on March 27, the RIFs occurred on April 1, ECF 52-1 at ¶ 2,
  and the States filed this case on May 5, 2025. It was completely reasonable for the
  States to wait until the harms, described in the nearly 70 declarations, were realized.
  The Court disagrees with the Defendants’ statement that “the delay further
  undermines their claims that they are suffering irreparable harm.” ECF No. 52 at
  40.


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  measurable in monetary terms and compensable by final judgment.” Id. at 39-40. At

  the CDC, for example, laboratories have shuttered which has resulted in States

  seeking out commercial labs for testing. ECF No. 44-23 at ¶ 18. This in and of itself

  is not the problem. The problem is that these commercial labs do not have the same

  mandates as CDC which will impact the States’ ability to compare and track results,

  potentially leading to outbreaks involving multiple jurisdictions. Id.; ECF No. 44-22

  at ¶¶ 17-18; ECF No. 44-59 at ¶ 10. The shuttering of labs has also hampered New

  York’s Wadsworth Center which has tried to fill the gaps but is feeling the strain on

  its resources. ECF No. 44-20 at ¶ 35. The States “are investing time, money and

  other resources in changes to their state programs due to the closure and reduction

  of CDC’s laboratory resources.” ECF No. 43 at 48.

           DRH has also experienced irreparable harm related to the loss of CDC support

  for the PRAMS program. PRAMS historical data is offline, states have not received

  weighted 2024 birth year data from CDC, and 2024 birth year data collection ended

  early.    States no longer have access to “scientific, technical, and information

  technology assistance resources” provided by CDC, ECF No. 44-25 at ¶ 24, and lack

  clear guidance on data collection for birth year 2025. ECF No. 44-25 at ¶ 24; ECF

  No. 44-24 at ¶ 15; ECF No. 44-28 at ¶¶ 19-21; ECF No. 44-26 at ¶ 17; ECF No. 44-27

  at ¶ 5; ECF No. 44-29 at ¶¶ 12-13; ECF No. 44-50 at ¶ 11; ECF No. 44-51 at ¶¶ 26-

  33; ECF No. 44-59 at ¶ 29. Without the PRAMS data and CDC expertise, the States

  “no longer have the ability to monitor health outcomes and goals without creating

  their own pregnancy outcome monitoring systems, which would take at least a year




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  to accomplish, would be cost prohibitive, and would be incapable of replicating

  PRAMS’ weighted national dataset in any event.” ECF No. 43 at 49; ECF No. 44-27

  at ¶¶ 5-6; ECF No. 44-29 at ¶¶ 17-19.

        The Communiqué has also irreparably harmed NIOSH, which has lost a

  majority of its staff, leading to a “pause on all NIOSH activities.” ECF No. 44-31 at

  ¶ 18, Ex. 2.     Education and research centers face imminent closure, like

  “Washington’s Northwest Center for Occupational Health and Safety,” which loses

  its funding in June. Id. at ¶¶ 11-30; see also ECF No 44-52 at ¶¶ 42-45 (describing

  the effect RIFs have had on Education and Research Centers throughout California).

        These harms, all of which are undisputed by HHS, are concrete examples of

  the many irreparable harms the States are currently, and will continue, to experience

  because of the March 27 Communiqué. Critical public health services have been

  interrupted, databases taken offline, status of grants thrown into chaos, technical

  assistance services gone, and training and consultation services curtailed. These are

  not unsubstantiated fears. See Winter, 555 U.S. at 22. Further, none of these harms

  can be compensated by money damages. Ross-Simons of Warwick, 102 F.3d at 19.

  The Court finds that the States have established irreparable harm stemming from

  the Communiqué.

           3. Balance of the Equities & Public Interest

        The last two factors for the Court to consider, balance of the equities and public

  interest, merge because the Government is the opposing party. Nken, 556 U.S. at

  435; Mills, 16 F.4th at 37. These factors require the Court to “balance the competing




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  claims of injury and must consider the effect on each party of the granting or

  withholding of the requested relief . . . pay[ing] particular regard for the public

  consequences” resulting from granting the relief sought. Winter, 555 U.S. at 24.

        HHS argues that “[g]ranting a preliminary injunction would disrupt the

  Department’s efforts to comply with the Workforce Executive Order and Workforce

  Memorandum” – both directives from the executive branch. ECF No. 52 at 40. They

  go on to say that the States’ “requested relief would hamstring the Department and

  force it to operate as if a new administration was never elected.” Id. at 41. However,

  this Court Order and the harm suffered by the States have nothing to do with the

  new administration’s priorities, but rather focuses on HHS failing to carry out its

  congressionally mandated duties and obligations. HHS has failed to produce a shred

  of evidence that services to States and access to critical information would continue

  uninterrupted, that the harms are minimal or not irreparable, or that it is authorized

  to act absent Congressional action. Compare that absence of evidence to the over

  seventy declarations submitted by the States which assert many harms to various

  State public health agencies and programs. When balancing the equities and the

  public interest, this Court has no trouble finding that both factors weigh heavily in

  favor of maintaining the status quo and issuing a preliminary injunction.          See

  Woonasquatucket, 2025 WL 1116157, at *23-24.

  IV. Scope of Remedy and Order

        The States are asking this Court “to enjoin the mass terminations and

  restructurings resulting from the March 27” Communiqué at the CDC, the FDA’s




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  CTP, the Head Start Offices, and the Office of the ASPE. ECF No. 43 at 10. The

  agency asks the Court to limit any injunctive relief to “address any information or

  services to which it determines [the States] have established an entitlement,” which

  is to say, the agency asks the Court to do its job. ECF No. 52 at 41-42.

        After careful consideration of the States’ Motion for a Preliminary Injunction,

  and for the reasons discussed in this Memorandum, the Court hereby orders that:

  1. The States’ Motion for a Preliminary Injunction (ECF No. 43) is GRANTED;

  2. HHS and all other named defendants are ENJOINED from taking any actions to
  implement or enforce the planned RIFs or sub-agency restructuring announced in the
  March 27 Communiqué or set in motion after the Communiqué’s release with respect
  to the specific sub-agencies and programs that are the subject of the instant motion
  for preliminary injunction, until further order of this Court. The actions enjoined by
  this order include but are not limited to:

  (a) any further execution of any existing RIF notices (including final separation for
  any employees previously notified of impending termination);

  (b) issuance of any further RIF notices; and

  (c) placement of additional employees on administrative leave.

  3. This Order shall apply to the maximum extent provided for by Federal Rule of Civil
  Procedure 65(d)(2) and 5 U.S.C. §§ 705 and 706.

  4. The Defendants shall file a status report on or before July 11, 2025 at 5:00pm EST,
  apprising the Court of the status of their compliance with this Order and providing a
  copy of all directives that Defendants provided pursuant to this Order.

  5. The parties shall file a notice with the Court on or before July 11, 2025, addressing
  the way in which (if at all) Trump v. CASA, Inc., Nos. 24A884, 24A885, 24A886, --- S.
  Ct. ---, 2025 WL 1773631 (June 27, 2025), impacts the scope of this Order.

  V. Bond

        Rule 65(c) of the Federal Rules of Civil Procedure contemplates that the party

  moving for a preliminary injunction “gives security in an amount that the court


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  considers proper to pay the costs and damages sustained by any party found to have

  been wrongfully enjoined or restrained.” The States request that the Court waive

  security in this case, pointing out that the courts have long recognized this provision

  as a discretionary call for the district court to make. ECF No. 43 at 55-56. HHS does

  not dispute the court’s discretion on this point but asserts that, because the States

  are attempting to halt a discretionary agency undertaking in order to avoid devoting

  more state resources to “providing services to their constituents,” “they should have

  skin in the game.”     ECF No. 52 at 42.       The Defendants suggest the bond be

  “commensurate with the scope of the injunction” and “take into account that the relief

  requested by [the States] will hinder” the agency’s ability to reorganize pursuant to

  the President’s policies.” Id. In the Court’s opinion, the States and their constituents

  have plenty on the line in this litigation. The Court imposes a nominal bond of $100.

  VI. Stay

        The Defendants are requesting that the Court stay the injunctive relief

  pending any appeal they may file. ECF No. 52 at 43. The States assert that a stay

  would be inappropriate in this case given “the specific, concrete, documented harms”

  to them. ECF No. 54 at 24. HHS’s request is, as the States point out, premature.

  However, because HHS is already enjoined, as of the entering of this Order, from

  moving forward with its reorganization plans, including finalizing the employee

  terminations, see Am. Fed’n of Gov’t Emps., 2025 WL 1482511, at *27, the Court will

  preemptively deny the agency’s request for a stay.




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IV.         CONCLUSION

            Circling back to the separation of powers principles covered earlier in this

      decision, the Executive Branch is vested with the power and is imbued with the

      responsibility to faithfully execute the laws which govern the governance structure

      of our country. The Executive Branch does not have the authority to order, organize,

      or implement wholesale changes to the structure and function of the agencies created

      by Congress. As Judge Smith in this district court recently warned when presented

      with the declining depth of civics education in public schools, “we may choose to

      survive as a country by respecting our Constitution, the laws and norms of political

      and civic behavior, and by educating our children on civics, the rule of law, and what

      it really means to be an American, and what America means. Or, we may ignore

      these things at our and their peril.” A.C. v. Raimondo, 494 F. Supp. 3d 170, 181

      (D.R.I. 2020), aff’d sub nom. A.C. by Waithe v. McKee, 23 F.4th 37 (1st Cir. 2022).



      IT IS SO ORDERED.



      _________________________________
      Melissa R. DuBose
      United States District Judge


      July 1, 2025




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